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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION


GERRARD D. JONES,

      Plaintiff,

v.                                                 Case No. 6:23-cv-1738-PGB-DCI

TEIXEIRA,

      Defendant.
                                     /

                                      ORDER

      THIS CAUSE comes before the Court on Defendant’s Motion for Extension

of Time to Respond to Plaintiff’s Complaint (Doc. 21).

      Defendant Teixeira requests a thirty-day extension of time through May 28,

2024, to respond to the Complaint, citing a need for further review and

investigation in relation to the allegations raised in the Complaint. (Doc. 21 at 2).

Defendant notes that Plaintiff agrees only to a twenty-five-day extension. (Doc. 21

at 2–3). However, Plaintiff has not responded to the motion, and the time to do so

has passed. See Local Rule 3.01(c), M.D. Fla. (“A party may respond to a motion

within fourteen days after service of the motion. . . . If a party fails to timely

respond, the motion is subject to treatment as unopposed.”).
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      Upon consideration, the Court finds that Defendant demonstrates good

cause for the requested extension, the extension is not made for the purpose of

delay, and there is no indication that Plaintiff will be prejudiced by the brief

extension.

      Accordingly, the Motion for Extension of Time to Respond to Plaintiff’s

Complaint (Doc. 21) is GRANTED. Defendant’s deadline to respond to the

Complaint is extended through and including May 28, 2024.

      DONE and ORDERED in Orlando, Florida on May 16, 2024.




Copies furnished to:

Counsel of Record
Unrepresented Party




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